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                                        10                              UNITED STATES DISTRICT COURT
                                        11                                   DISTRICT OF NEVADA

                                        12   THOMAS W. MCNAMARA, as the Court-                 Case No. 2:18-cv-02281-GMN-VCF
                                             Appointed Monitor for AMG Capital
Las Vegas, NV 89169




                                        13   Management, LLC; BA Services LLC; Black
                                             Creek Capital Corporation; Broadmoor Capital
                                        14
                                             Partners, LLC; Park 269, LLC; C5 Capital          STIPULATION AND (PROPOSED)
                                        15   LLC; DF Services Corp.; DFTW Consolidated         ORDER TO STAY PROCEEDINGS
                                             [UC] LLC; Impact BP LLC; Level 5 Apparel
                                        16   LLC; Level 5 Capital Partners LLC; Level 5
                                             Eyewear LLC; Level 5 Motorsports, LLC;
                                        17   Level 5 Scientific LLC; NM Service Corp.
                                             (f/k/a/ National Money Service); PSB Services
                                        18
                                             LLC; Real Estate Capital LLC (f/k/a/ Rehab
                                        19   Capital I, LLC); Sentient Technologies; ST
                                             Capital LLC; Westfund LLC; Eclipse
                                        20   Renewables Holdings LLC; Scott Tucker
                                             Declaration of Trust, dated February 20, 2015;
                                        21   West Race Cars, LLC; and Level 5
                                             Management LLC; and their successors,
                                        22
                                             assigns, affiliates, and subsidiaries,
                                        23
                                                                  Plaintiffs,
                                        24   v.

                                        25   INTERCEPT CORPORATION; BRYAN
                                             SMITH; CRAIG DRESSER; CONNIE
                                        26   MOSIER; DOES I-X; and ROE
                                             CORPORATIONS I-X,
                                        27
                                                                  Defendants.
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                                         1           Plaintiff Thomas W. McNamara (“Monitor”), through his counsel, and Defendants
                                         2   Intercept Corporation, Bryan Smith, Craig Dresser, and Connie Mosier (“Defendants”), through
                                         3   their counsel (collectively the “Parties”), respectfully submit this Stipulation and (Proposed)
                                         4   Order to Stay Proceedings (“Stipulation”).
                                         5           The Monitor’s Position
                                         6           The Monitor believes the case against Defendants is meritorious and should be allowed to
                                         7   proceed. Both the Court’s order in the related case of Thomas W. McNamara v. Linda Hallinan,
                                         8   et al. (“McNamara v. L. Hallinan”), Case No. 2:17-cv-02967-GMN-BNW (D. Nev.), and the
                                         9   Court’s order in this case, denying in part and granting in part Defendants’ motion to dismiss (in
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                                        10   which the Court “conclude[d] that McNamara has the authority to bring his claims,” including
                                        11   claims to recover fees paid to Defendants, see ECF No. 45 at 7), recognize the Monitor’s
                                        12   authority to pursue the claims at issue here against Defendants.
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                                        13           The Monitor acknowledges, however, that the Court has stayed four related actions that he
                                        14   has brought due to the United States Supreme Court’s review of the Court’s decisions in Federal
                                        15   Trade Commission v. AMG Services, Inc., et al., Case No. 2:12-cv-00536-GMN-VCF (D. Nev)
                                        16   — see, Thomas W. McNamara v. Charles Hallinan, et al., Case No. 2:17-cv-02966-GMN-NJK,
                                        17   at ECF No. 154 (D. Nev. Aug. 11, 2020), Thomas W. McNamara v. Stealth Power, LLC, Case
                                        18   No. 2:18-cv-01813-GMN-NJK, at ECF No. 60 (D. Nev. Sept. 3, 2020), McNamara v. L. Hallinan,
                                        19   at ECF No. 156 (D. Nev. Sept. 14, 2020), and Thomas W. McNamara v. Gary Patten, et al.
                                        20   (“McNamara v. Patten”), Case No. 2:17-cv-02968-GMN-NJK, at ECF No. 101 (Sept. 14, 2020).
                                        21           Notwithstanding these orders, the Monitor believes that it would be beneficial to proceed
                                        22   with discovery. This is because of the possibility of witnesses’ memories fading and documents
                                        23   being lost or destroyed during a stay. When granting the motion to stay in McNamara v. Patten,
                                        24   the Court cited the parties’ completion of fact discovery as a reason that the stay would not result
                                        25   in prejudice to the Monitor. See id. at ECF No. 101 at 2. Here, the parties are in the midst of fact
                                        26   discovery as to Count III (aiding and abetting breach of fiduciary duty) only – neither side has yet
                                        27   deposed a witness, and the Monitor has issued several discovery requests to Defendants that are
                                        28   still outstanding.
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                                         1             Nonetheless, the Monitor recognizes the issues presented to the Supreme Court on appeal
                                         2   directly affect the scope of the authorization provided to the Monitor in the underlying case (the
                                         3   “Monitor Order.”) Those issues apply equally to each of the cases brought by the Monitor, and
                                         4   consequently, the Monitor understands that the Court is likely to ultimately stay the instant case,
                                         5   too. As the Monitor has not brought this case on a contingency fee basis (unlike a number of the
                                         6   other actions that he has brought pursuant to the Monitor Order), proceeding with discovery here
                                         7   will result in direct costs to the Monitorship Estate. Recognizing that the likely end result is a
                                         8   stay, the Monitor has deemed it to be in the best interests of the Monitorship Estate to stipulate to
                                         9   a stay of this action.
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                                        10             Defendants’ Position
                                        11             Defendants do not believe this case is meritorious. While the Court previously found the
                                        12   Monitor had authority generally to initiate this action, the Court dismissed the majority of the
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                                        13   claims set forth in the Monitor’s original complaint for lack of standing and failure to sufficiently
                                        14   plead claims against the individual Defendants (ECF No. 45 at 17-22). The Monitor’s amended
                                        15   complaint, which brings the same claims that were previously found to be lacking, should be
                                        16   dismissed in its entirety for the reasons set forth in Defendants’ pending motion to dismiss (ECF
                                        17   No. 54).
                                        18             Defendants also disagree that proceeding with discovery would be beneficial under the
                                        19   circumstances. The Monitor already has in his possession a vast amount of records and
                                        20   information, including Defendant Intercept’s prior productions in response to the FTC’s 2012
                                        21   subpoena and the Monitor’s 2018 subpoena in the AMG Services matter, and the possibility of
                                        22   memories fading is not an issue given that many of the events in question were already a decade
                                        23   old when the Monitor filed his original complaint against Defendants.
                                        24             Defendants do agree with the Monitor, however, that a stay of this action is appropriate
                                        25   pending resolution of AMG Capital Management, LLC v. Federal Trade Commission, No. 19-
                                        26   508, a case which could, as this Court has explained in the Hallinan, Stealth Power, and Patten
                                        27   cases, directly affect the Monitor’s scope of authority and, as a result, his ability to proceed in this
                                        28   action.
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                                         1             Accordingly, IT IS HEREBY STIPULATED AND AGREED, by and between the
                                         2   undersigned counsel for the Parties, as follows:
                                         3             1.    The case shall be stayed pending the United States Supreme Court’s decision in
                                         4   AMG Capital Management, LLC v. Federal Trade Commission, No. 19-508.
                                         5             2.    The Monitor and Defendants shall jointly file a status report every three months
                                         6   beginning on November 2, 2020, addressing the status of AMG Capital Management, LLC v.
                                         7   Federal Trade Commission, No. 19-508.
                                         8             3.    Any motions currently pending before the Court in this matter will be addressed by
                                         9   the Court once the stay is lifted.
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                                        10             4.    Pending motions do not need to be refiled with the Court.
                                        11             5.    Upon the United States Supreme Court’s decision, the Parties shall jointly petition
                                        12   the Court to lift the stay within seven (7) days of the decision.
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                                        13             6.    If and after the stay is lifted, the Parties will be given a reasonable amount of time
                                        14   to complete fact discovery.
                                        15             7.    The Parties understand their obligations to preserve evidence while this matter is
                                        16   stayed.
                                        17             DATED this 25th day of September, 2020.
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                                        14
                                               Attorneys for Court-Appointed
                                        15     Monitor

                                        16      IT IS SO ORDERED.
                                        17      Dated this 2
                                                           __ day of October, 2020.

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                                        20                                            Gloria M. Navarro, District Judge
                                                                                      United States District Court
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                                         1                                    CERTIFICATE OF SERVICE
                                         2          Pursuant to Fed. R. Civ. P. 5, I hereby certify that service of the foregoing “Stipulation (And

                                         3   Proposed Order) To Stay the Proceedings” was made through the United State District Court’s

                                         4   CM/ECF system on counsel of record.

                                         5

                                         6          DATED this 25th day of September, 2020.

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                                         8

                                         9                                         /s/ Luz Horvath
                                                                                   An Employee of Lewis Roca Rothgerber Christie LLP
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